       EXHIBIT A




Case 4:20-cv-00723-HFS Document 1-2 Filed 09/10/20 Page 1 of 28
             IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                              AT INDEPENDENCE

DONALD BRIDGEWATER,                                 )
                                                    )
           Plaintiff,                               )   Case No. 2016-CV15686
v.                                                  )
                                                    )
WAL-MART STORES EAST I, LP,                         )   Div. 12
                                                    )
and                                                 )
                                                    )
JOSH WILLIAMS                                       )
                                                    )
           Defendant.                               )

      DEFENDANT JOSH WILLIAMS’ NOTICE OF FILING NOTICE OF REMOVAL

        I hereby certify that a copy of the Notice of Removal in the above-styled action has been

filed in the United States District court of the Western District of Missouri, on this 10th day of

September 2020.

        A copy of the Notice of Removal is attached hereto as Exhibit 1.

                                             Respectfully submitted,


                                             BAKER STERCHI COWDEN & RICE LLC

                                              /s James R. Jarrow
                                             James R. Jarrow                      MO# 38686
                                             2400 Pershing Road, Suite 500
                                             Kansas City, MO 64108
                                             Telephone 816.471.2121
                                             Facsimile 816.472.0288
                                             Email:     jarrow@bscr-law.com


                                             ATTORNEY FOR DEFENDANT
                                             JOSH WILLIAMS




         Case 4:20-cv-00723-HFS Document 1-2 Filed 09/10/20 Page 2 of 28
                                 CERTIFICATE OF SERVICE


       I hereby certify that on the 10th day of September, 2020 a copy of the foregoing was

electronically filed with the Clerk of the Court using the Court’s electronic filing system, which

will send electronic notification of filing to all counsel of record, and U.S. Mail to:

       Rick W. DeVault, Esq.
       The Devalut Law Firm, LC
       3720 N.E. Troon Dr., Ste 100
       Lee’s Summit, MO 64064
       rick@devaultlaw.com
       ATTORNEY FOR PLAINTIFF

                                                        /s/ James R. Jarrow




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                                                                                                   Electronically Filed - Jackson - Independence - July 28, 2020 - 02:17 PM
                                                                                  2016-CV15686

               IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                                AT INDEPENDENCE

DONALD BRIDGEWATER,                                     )
    6339 Bellefontaine                                  )
    KC, MO 64132                                        )
                                                        )
                         Plaintiff,                     )
                                                        )      Case No.
vs.                                                     )
                                                        )      Div.
WALMART STORES EAST I, LP                               )
    Serve Registered Agent:                             )
    CT Corporation System                               )
    120 South Central Avenue                            )
    Clayton MO 63105                                    )
                                                        )
and                                                     )
                                                        )
JOSH WILLIAMS,                                          )
     Serve at Place of Employment:                      )
     Walmart Store #319                                 )
     2015 W. Foxwood Dr.                                )
     Raymore, MO 64083                                  )
                                                        )
                                 Defendants.            )

                                      PETITION FOR DAMAGES

         COMES NOW Plaintiff and states as follows for his Petition for Damages against

Defendant:

                                      COMMON ALLEGATIONS

      1. Plaintiff is an individual and was at all times relevant over the age of eighteen and a

resident of Jackson County, Missouri.

      2. Defendant Walmart Stores East I, LP (“Walmart”) is a foreign limited partnership

registered to do business in Missouri and conducting business throughout Jackson County,

Missouri.




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                                                                                                    Electronically Filed - Jackson - Independence - July 28, 2020 - 02:17 PM
   3. Defendant Josh Williams is a Missouri resident. At all times referenced herein, Defendant

Williams was performing services on behalf of Defendant Walmart and at the time of the events

set forth herein was acting in the course and scope of his employment with Defendant Walmart.

   4. Defendant Walmart is jointly and severally responsible for Defendant Williams’s conduct

under principles of agency, vicarious liability and respondeat superior.

   5. Upon information and belief, at all relevant times mentioned herein, Defendant

Walmart’s agents and/or employees were acting within the scope and course of their

employment with Defendant Walmart.

   6. The incident causing Plaintiff’s damages occurred on or about August 1, 2017, on

premises owned by Defendant Walmart and/or controlled by Defendants Walmart and Williams

at 11601 E US Highway 40, Kansas City, MO 64133 (the “Premises”).

   7. On August 1, 2017, Plaintiff was present on the Premises as a patron of Defendant

Walmart and, thus, an invitee at the time of the incident causing his injuries.

   8. On this date, the Premises had an untended spill of liquid (the “Spill”) in the public

walking area.

   9. Plaintiff stepped in the liquid and fell (the “Incident”), causing or contributing to cause

injury to his right thumb, right elbow, right ankle, and spine.

   10. As a direct and proximate result of the aforementioned injuries, Plaintiff suffered from

and will permanently suffer:

           a. Physical, mental and emotional pain, disability, anguish and suffering;

           b. Loss of enjoyment of life;

           c. He has been required to undergo multiple reasonable and necessary medical

                treatments;



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                                                                                                          Electronically Filed - Jackson - Independence - July 28, 2020 - 02:17 PM
            d. He has been required to expend monies for medical treatment, care and

                monitoring;

            e. He will in the future be required to undergo reasonable and necessary medical

                treatment;

            f. He will in the future be required to expend monies for medical treatment, care and

                monitoring; and

            g. Increased risk of future medical treatment and expense, complications, disability

                and other consequences.

    11. This Court has personal jurisdiction over the parties because the claims herein arise out of

the commission of a tort in the State of Missouri.

    12. Venue in the Circuit Court of Jackson County is proper in that the incident occurred and

Plaintiff was first injured in Jackson County, Missouri.

                              COUNT I – PREMISES LIABILITY

    13. Plaintiff incorporates by reference the allegations set forth above as if fully set out herein.

    14. At the time of the Incident, the Spill on the Premises rendered the walk area slick and

insufficiently slip resistant causing a dangerous condition, as a result the Premises was not

reasonably safe for the public.

    15. Defendants knew or by using ordinary care could have known of the dangerous condition

of the Spill in time to remedy and or warn of such dangerous condition.

    16. Defendant failed to use ordinary care in the following respects:

            a. Defendant failed to remove the dangerous condition;

            b. Defendant failed to fix and/or remedy the dangerous condition;

            c. Defendant failed to warn patrons of the dangerous condition;

            d. Defendant failed to mark or barricade the dangerous condition; and

                                                     3

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                                                                                                         Electronically Filed - Jackson - Independence - July 28, 2020 - 02:17 PM
           e. Defendant failed to use ordinary care to inspect and/or remove the dangerous

               condition and/or barricade the dangerous condition.

   17. Such failure by Defendants directly caused or directedly contributed to cause Plaintiff’s

injuries as described in the Common Allegations of this Petition.

       WHEREFORE, Plaintiff seeks judgment in Plaintiff’s favor and against Defendant for

compensatory damages in an amount greater than $25,000.00 that will fully and fairly address

Plaintiff’s injuries and damages, and for interest and costs, and such other and further relief as

this Court and jury deem just and proper.

                                   COUNT II – NEGLIGENCE

   18. Plaintiff incorporates by reference the allegations set forth above as if fully set out herein.

   19. Defendants undertook to render services to inspect and make safe the Premises that

Defendants should have recognized were necessary for the safety and protection of Plaintiff and

other individuals.

   20. Defendants had a duty to protect Plaintiff and other individuals from foreseeable risks

such as the risk posed by the dangerous condition.

   21. Defendants failed to exercise reasonable care and thereby increased the risk of harm to

Plaintiff in the following particulars:

           a. Defendants failed to prevent the walking surface of the Premises from becoming

               slick and insufficiently slip resistant;

           b. Defendants failed to have adequate policies and procedures in place to prevent the

               walking surface of the Premises from becoming slick and insufficiently slip

               resistant;




                                                   4

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                                                                                                     Electronically Filed - Jackson - Independence - July 28, 2020 - 02:17 PM
           c. Defendants failed to properly supervise Walmart employees or persons acting on

               Walmart’s behalf to ensure the walking surface of the Premises area was not slick

               and insufficiently slip resistant;

           d. Defendants failed to properly inspect to ensure the walking surface of the

               Premises was free of spills; and

           e. Defendants failed to fulfill their duties to the public and to Plaintiff in other

               particulars as shall be identified through discovery in this matter.

   22. Defendants breached their duty to exercise reasonable care to secure the safety of

Plaintiff through Defendants’ acts and omissions set forth above.

   23. Defendants’ breach of their duties directly caused or directedly contributed to cause

Plaintiff’s injuries as described in the Common Allegations of this Petition.

       WHEREFORE, Plaintiff seeks judgment in Plaintiff’s favor and against Defendants for

compensatory damages in an amount greater than $25,000.00 that will fully and fairly address

Plaintiff’s injuries and damages, and for interest and costs, and such other and further relief as

this Court and jury deem just and proper.

                                   JURY TRIAL DEMANDED

       Plaintiff hereby requests a jury in this case for all issues triable by a jury.



                                                        Respectfully submitted,

                                                        DEVAULT LAW, L.C.

                                                        By: /s/ Rick W. DeVault
                                                        Rick W. DeVault, MO #65874
                                                        3720 NE Troon Dr., Suite 100
                                                        Lee’s Summit, MO 64064
                                                        (816) 350-1600
                                                        (816) 350-1602 (fax)
                                                        Rick@DeVaultLaw.com

                                                    5

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                                                                  Electronically Filed - Jackson - Independence - July 28, 2020 - 02:17 PM
                                   ATTORNEY FOR PLAINTIFF




                               6

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                                                                                                       Electronically Filed - Jackson - Independence - July 28, 2020 - 02:17 PM
                                                                                 2016-CV15686

                IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                                 AT INDEPENDENCE

       DONALD BRIDGEWATER,                                  )
                                                            )
                              Plaintiff,                    )
                                                            )       Case No.
       vs.                                                  )
                                                            )       Div.
       WALMART STORES EAST I, LP                            )
                                                            )
       and                                                  )
                                                            )
       JOSH WILLIAMS,                                       )
                                                            )
                                      Defendants.           )


       MOTION FOR APPROVAL AND APPOINTMENT OF PRIVATE PROCESS SERVER

      COMES NOW Plaintiffs, by and through their attorney of record, and for their Motion for
Approval/Appoint of Private Process Server, requests that D&B Legal Services, Inc.: Legal Names (s):
Jamie Andrews PPS20-0009          Norman Diggs PPS20-0032           Gerald Hissam PPS20-0055
Sallie Bailey PPS20-0663          Edwina Ditmore PPS20-0033         William Hockersmith PPS20-0056
Caleb Battreal PPS20-0010         Marrissa Doan PPS20-0034          Alex Holland PPS20-0057
Bernard Beletsky PPS20-0011       Paul Donovan PPS20-0618           Thomas Honton PPS20-0623
Carrington Bell PPS20-0012        Shawn Edwards PPS20-0035          Mary Hurley PPS20-0058
Thomas Bogue PPS20-0013           Tonya Elkins PPS20-0036           Betty Johnson PPS20-0059
Brent Bohnhoff PPS20-0014         William Ferrell PPS20-0037        Edward Johnson PPS20-0060
Arthur Boyer PPS20-0015           Robert Finley PPS20-0335          James Johnson PPS20-0061
Scott Brady PPS20-0016            James Frago PPS20-0038            Etoya Jones PPS20-0062
Gary Brakemeyer PPS20-0017        John Frago PPS20-0039             Patrick Jones PPS20-0063
James Bromeier PPS20-0615         Kenneth Frechette II PPS20-0040   Thomas Kaltmayer PPS20-0627
Jeff Brown PPS20-0018             Andrew Garza PPS20-0041           Derec Kelley PPS20-0064
Hester Bryant PPS20-0019          Paul Glickert PPS20-0620          Brent Kirkhart PPS20-0065
Nicholas Bull PPS20-0020          Bradley Gordon PPS20-0042         Janice Kirkhart PPS20-0066
Randy Burrow PPS20-0021           Thomas Gorgen PPS20-0043          Tyler Kirkhart PPS20-0067
Gory Burt PPS20-0022              Tom Gorgone PPS20-0044            Damon Lester PPS20-0068
Kyle Carter PPS20-0023            Richard Gray PPS20-0045           Daniel Maglothin PPS20-0069
Michael Conklin PPS20-0024        Charles Gunning PPS20-0046        Chad Maier PPS20-0070
Lisa Corbett PPS20-0025           James Hannah PPS20-0047           Kenneth Marshall PPS20-0071
Dennis Dahlberg PPS20-0026        Rufus Harmon PPS20-0048           Deborah Martin PPS20-0072
Mary Dahlberg PPS20-0027          James Harvey PPS20-0049           Michael Martin PPS20-0073
Bert Daniels JR PPS20-0028        Natalie Hawks PPS20-0050          Todd Martinson PPS20-0074
Richard Davis PPS20-0029          Douglas Hays PPS20-0051           Timothy McGarity PPS20-0075
Anthony Dice PPS20-0497           Stephen Heitz PPS20-0052          Diane McKay PPS20-0631
David Dice PPS20-0030             Wendy Hilgenberg PPS20-0053       Casey McKee PPS20-0076
Maureen Dice PPS20-0031           James Hise PPS20-0054             Michael Meador PPS20-0077



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                                                                                                           Electronically Filed - Jackson - Independence - July 28, 2020 - 02:17 PM
Kenny Medlin PPS20-0078           Bill Powell PPS20-0100             Michael Taylor PPS20-0120
Maria Meier PPS20-0079            Dee Powell PPS20-0101              Robert Torrey PPS20-0121
Thomas Melte PPS20-0080           Samantha Powell PPS20-0102         Lucas Traugott PPS20-0122
Matthew Millhollin PPS20-0081     Kim Presler PPS20-0103             Steve Trueblood PPS20-0123
James Mitchell PPS20-0082         Marcus Presler PPS20-0104          Jonathan Trumpower PPS20-0124
Jason Mitchell PPS20-0675         Mark Rauss PPS20-0105              Cory Upchurch PPS20-0637
Alexious Moehring PPS20-0083      Terri Richards PPS20-0106          Jerromy Vanderwaal PPS20-0660
Jonathan Moehring PPS20-0084      Jorge Rivera PPS20-0107            Douglas Washburn PPS20-0639
Jason Moody PPS20-0085            Sammie Robinson PPS20-0108         Ryan Weekley PPS20-0125
Ronald Moore PPS20-0086           Richard Roth PPS20-0109            Misty Wege PPS20-0126
Andrew Myers PPS20-0087           Edna Russell PPS20-0110            Andrew Wheeler PPS20-0127
Frederick Myers PPS20-0088        Brenda Schiwitz PPS20-0111         Charles Wheeler PPS20-0646
James Myers PPS20-0089            David Schreier PPS20-0678          Pam King-Wheetley PPS20-0007
Stephanie Myers PPS20-0090        Michael Siegel PPS20-0214          Roger White PPS20-0641
Christopher New PPS20-0091        Joe Sherrod PPS20-0112             Andrew Wickliffe PPS20-0128
Jeremy Nicholas PPS20-0092        Andrew Sitzes PPS20-0113           Norman Wiley PPS20-0129
Michael Noble PPS20-0093          Laura Skinner PPS20-0114           Gregory Willing PPS20-0130
Greg Noll PPS20-0094              Thomas Skinner PPS20-0115          Conni Wilson PPS20-0131
Robert O’Sullivan PPS20-0095      Richard Skyles PPS20-0215          Jerry Wilson PPS20-0132
Mike Perry PPS20-0096             Chris Stanton PPS20-0216           Debra Woodhouse PPS20-0133
Bob Peters PPS20-0097             William Steck PPS20-0116           Stan Yoder PPS20-0134
Devin Pettenger PPS20-0098        Randy Stone PPS20-0117             Greg Zotta PPS20-0135
Carrie Pfeifer PPS20-0099         Sonja Stone PPS20-0118
Craig Poese PPS20-0159            David Taliaferro PPS20-0119

who are qualified persons to serve process, are not parties and are not less than eighteen (18) years of
age, as private process servers in the above cause to serve process in this case.

                                                     Respectfully submitted,

                                                     DEVAULT LAW, L.C.

                                                     By: /s/ Rick W. DeVault
                                                     Rick W. DeVault, MO #65874
                                                     3720 NE Troon Drive, Suite 100
                                                     Lee’s Summit, MO 64064
                                                     (816) 350-1600
                                                     (816) 350-1602 (fax)
                                                     Rick@DeVaultLaw.com


                                                 ORDER

It is hereby ordered that the Plaintiff’s Motion for Approval and Appointment of private process server
is granted and the above-named individuals are hereby approved and appointed to serve process in the
above-captioned matter.


Date:
                                              Judge or Clerk




           Case 4:20-cv-00723-HFS Document 1-2 Filed 09/10/20 Page 11 of 28
              IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                               AT INDEPENDENCE

DONALD BRIDGEWATER,

                        PLAINTIFF(S),                                    CASE NO. 2016-CV15686
VS.                                                                      DIVISION 12

WALMART STORES EAST I, LP,

                        DEFENDANT(S).

       NOTICE OF CASE MANAGEMENT CONFERENCE FOR CIVIL CASE
                        AND ORDER FOR MEDIATION
______________________________________________________________________________

          NOTICE IS HEREBY GIVEN that a Case Management Conference will be held with the
Honorable JENNIFER PHILLIPS on 16-NOV-2020 in DIVISION 12 at 09:00 AM. All
Applications for Continuance of a Case Management Conference should be filed on or before
Wednesday of the week prior to the case management setting. Applications for Continuance of a
Case Management Conference shall comply with Supreme Court Rule and 16th Cir. R. 34.1.
Continuance of a Case Management Conference will only be granted for good cause shown because
it is the desire of the Court to meet with counsel and parties in all cases within the first 4 months that
a case has been on file. All counsel and parties are directed to check Case.NET on the 16th Judicial
Circuit web site at www.16thcircuit.org after filing an application for continuance to determine
whether or not it has been granted.

        A lead attorney of record must be designated for each party as required by Local Rule 3.5.1.
 A separate pleading designating the lead attorney of record shall be filed by each party as described
in Local Rule 3.5.2. The parties are advised that if they do not file a separate pleading designating
lead counsel, even in situations where there is only one attorney representing the party, JIS will not
be updated by civil records department, and copies of orders will be sent to the address currently
shown in JIS. Civil Records does not update attorney information from answers or other pleadings.
The Designation of Lead Attorney pleading shall contain the name of lead counsel, firm name,
mailing address, phone number, FAX number and E-mail address of the attorney who is lead
counsel.
       At the Case Management Conference, counsel should be prepared to address at least the
following:

        a.      A trial setting;
        b.      Expert Witness Disclosure Cutoff Date;
        c.      A schedule for the orderly preparation of the case for trial;
        d.      Any issues which require input or action by the Court;
        e.      The status of settlement negotiations.




2016-CV15686                                   Page 1 of 2                       DMSNCMCIVI (2/2017)
        Case 4:20-cv-00723-HFS Document 1-2 Filed 09/10/20 Page 12 of 28
                                           MEDIATION
        The parties are ordered to participate in mediation pursuant to Supreme Court Rule 17.
Mediation shall be completed within 10 months after the date the case if filed for complex cases,
and 6 months after the date the case is filed for other circuit cases, unless otherwise ordered by
the Court. Each party shall personally appear at the mediation and participate in the process. In
the event a party does not have the authority to enter into a settlement, then a representative of
the entity that does have actual authority to enter into a settlement on behalf of the party shall
also personally attend the mediations with the party.

        The parties shall confer and select a mutually agreeable person to act as mediator in this
case. If the parties are unable to agree on a mediator the court will appoint a mediator at the
Case Management Conference.

       Each party shall pay their respective pro-rata cost of the mediation directly to the
mediator.

                                  POLICIES/PROCEDURES
       Please refer to the Court’s web page www.16thcircuit.org for division policies and
procedural information listed by each judge.


                                              /S/ JENNIFER PHILLIPS
                                              JENNIFER PHILLIPS, Circuit Judge


                                       Certificate of Service

        This is to certify that a copy of the foregoing was electronic noticed, faxed, emailed
and/or mailed or hand delivered to the plaintiff with the delivery of the file-stamped copy of the
petition. It is further certified that a copy of the foregoing will be served with the summons on
each defendant named in this action.

Attorney for Plaintiff(s):
RICK W DEVAULT, THE DEVAULT LAW FIRM LC, 3720 NE TROON DRIVE,
SUITE100, LEES SUMMIT, MO 64064

Defendant(s):
 WALMART STORES EAST I, LP
JOSH WILLIAMS

Dated: 30-JUL-2020                                              MARY A. MARQUEZ
                                                                Court Administrator




2016-CV15686                                 Page 2 of 2                    DMSNCMCIVI (2/2017)
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                                                                                                       Electronically Filed - Jackson - Independence - July 28, 2020 - 02:17 PM
                                                                                 2016-CV15686

                IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                                 AT INDEPENDENCE

       DONALD BRIDGEWATER,                                  )
                                                            )
                              Plaintiff,                    )
                                                            )       Case No.
       vs.                                                  )
                                                            )       Div.
       WALMART STORES EAST I, LP                            )
                                                            )
       and                                                  )
                                                            )
       JOSH WILLIAMS,                                       )
                                                            )
                                      Defendants.           )


       MOTION FOR APPROVAL AND APPOINTMENT OF PRIVATE PROCESS SERVER

      COMES NOW Plaintiffs, by and through their attorney of record, and for their Motion for
Approval/Appoint of Private Process Server, requests that D&B Legal Services, Inc.: Legal Names (s):
Jamie Andrews PPS20-0009          Norman Diggs PPS20-0032           Gerald Hissam PPS20-0055
Sallie Bailey PPS20-0663          Edwina Ditmore PPS20-0033         William Hockersmith PPS20-0056
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Lisa Corbett PPS20-0025           James Hannah PPS20-0047           Kenneth Marshall PPS20-0071
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Anthony Dice PPS20-0497           Stephen Heitz PPS20-0052          Diane McKay PPS20-0631
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Maureen Dice PPS20-0031           James Hise PPS20-0054             Michael Meador PPS20-0077



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Maria Meier PPS20-0079            Dee Powell PPS20-0101              Robert Torrey PPS20-0121
Thomas Melte PPS20-0080           Samantha Powell PPS20-0102         Lucas Traugott PPS20-0122
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Andrew Myers PPS20-0087           Edna Russell PPS20-0110            Andrew Wheeler PPS20-0127
Frederick Myers PPS20-0088        Brenda Schiwitz PPS20-0111         Charles Wheeler PPS20-0646
James Myers PPS20-0089            David Schreier PPS20-0678          Pam King-Wheetley PPS20-0007
Stephanie Myers PPS20-0090        Michael Siegel PPS20-0214          Roger White PPS20-0641
Christopher New PPS20-0091        Joe Sherrod PPS20-0112             Andrew Wickliffe PPS20-0128
Jeremy Nicholas PPS20-0092        Andrew Sitzes PPS20-0113           Norman Wiley PPS20-0129
Michael Noble PPS20-0093          Laura Skinner PPS20-0114           Gregory Willing PPS20-0130
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Robert O’Sullivan PPS20-0095      Richard Skyles PPS20-0215          Jerry Wilson PPS20-0132
Mike Perry PPS20-0096             Chris Stanton PPS20-0216           Debra Woodhouse PPS20-0133
Bob Peters PPS20-0097             William Steck PPS20-0116           Stan Yoder PPS20-0134
Devin Pettenger PPS20-0098        Randy Stone PPS20-0117             Greg Zotta PPS20-0135
Carrie Pfeifer PPS20-0099         Sonja Stone PPS20-0118
Craig Poese PPS20-0159            David Taliaferro PPS20-0119

who are qualified persons to serve process, are not parties and are not less than eighteen (18) years of
age, as private process servers in the above cause to serve process in this case.

                                                     Respectfully submitted,

                                                     DEVAULT LAW, L.C.

                                                     By: /s/ Rick W. DeVault
                                                     Rick W. DeVault, MO #65874
                                                     3720 NE Troon Drive, Suite 100
                                                     Lee’s Summit, MO 64064
                                                     (816) 350-1600
                                                     (816) 350-1602 (fax)
                                                     Rick@DeVaultLaw.com


                                                 ORDER

It is hereby ordered that the Plaintiff’s Motion for Approval and Appointment of private process server
is granted and the above-named individuals are hereby approved and appointed to serve process in the
above-captioned matter.


Date:    30-Jul-2020




           Case 4:20-cv-00723-HFS Document 1-2 Filed 09/10/20 Page 15 of 28
              IN THE 16TH JUDICIAL CIRCUIT COURT, JACKSON COUNTY, MISSOURI


 Judge or Division:                                                 Case Number: 2016-CV15686
 JENNIFER PHILLIPS
 Plaintiff/Petitioner:                                              Plaintiff’s/Petitioner’s Attorney/Address
 DONALD BRIDGEWATER                                                 RICK W DEVAULT
                                                                    THE DEVAULT LAW FIRM LC
                                                                    3720 NE TROON DRIVE
                                                                    SUITE100
                                                              vs.   LEES SUMMIT, MO 64064
 Defendant/Respondent:                                              Court Address:
 WALMART STORES EAST I, LP                                          308 W Kansas
 Nature of Suit:                                                    INDEPENDENCE, MO 64050
 CC Pers Injury-Other                                                                                                                 (Date File Stamp)

                                                              Summons in Civil Case
      The State of Missouri to: WALMART STORES EAST I, LP
                                      Alias:
  SRV RA: CT CORPORATION SYSTEMS
  120 SOUTH CENTRAL AVENUE
  CLAYTON, MO 63105

         COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                       which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                       above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                       file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                                    30-JUL-2020                                _________________________________________
                                                        Date                                                    Clerk

        JACKSON COUNTY                 Further Information:

                                                                Sheriff’s or Server’s Return
      Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
      I certify that I have served the above summons by: (check one)
          delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
          leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
            _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years who
            permanently resides with the Defendant/Respondent.
          (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
      ____________________________________________                                      _____________________________________________
                     Printed Name of Sheriff or Server                                                    Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________              _____________________________________________
                                                                              Date                                     Notary Public
      Sheriff’s Fees
      Summons                      $
      Non Est                      $
      Sheriff’s Deputy Salary
      Supplemental Surcharge       $    10.00
      Mileage                      $                    (______ miles @ $.______ per mile)
      Total                        $
      A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
      suits, see Supreme Court Rule 54.



OSCA (7/2018) SM30 (JAKSMCC) For Court Use Only: Document Id # 20-SMCC-6356 1 of 1Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                      Case 4:20-cv-00723-HFS Document 1-2 Filed 09/10/20                                  Page 16 of 28
                                                                                                   54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
                   SUMMONS/GARNISHMENT SERVICE PACKETS
                         ATTORNEY INFORMATION



Under the Missouri e-filing system now utilized by the 16th Judicial Circuit Court, once a case has been
accepted for filing, a clerk prepares the necessary documents for service. The summons/garnishment is
sent to the attorney by an e-mail containing a link so that the filer may print and deliver the
summons/garnishment, pleadings and any other necessary documents to the person designated to serve
the documents.

Pursuant to State statutes, Supreme Court Rules and Local Court Rules, attorneys are required to print,
attach and serve specific documents with certain types of Petitions and other filings.

Please refer to the Court’s website for instructions on how to assemble the service packets at:

16thcircuit.org → Electronic Filing Information → Required Documents for Service – eFiled cases →
Summons/Garnishment Service Packet Information.

Please review this information periodically, as revisions are frequently made. Thank you.



                                                     Circuit Court of Jackson County




           Case 4:20-cv-00723-HFS Document 1-2 Filed 09/10/20 Page 17 of 28
                                                                                                   6/2020
              IN THE 16TH JUDICIAL CIRCUIT COURT, JACKSON COUNTY, MISSOURI


 Judge or Division:                                                 Case Number: 2016-CV15686
 JENNIFER PHILLIPS
 Plaintiff/Petitioner:                                              Plaintiff’s/Petitioner’s Attorney/Address
 DONALD BRIDGEWATER                                                 RICK W DEVAULT
                                                                    THE DEVAULT LAW FIRM LC
                                                                    3720 NE TROON DRIVE
                                                                    SUITE100
                                                              vs.   LEES SUMMIT, MO 64064
 Defendant/Respondent:                                              Court Address:
 WALMART STORES EAST I, LP                                          308 W Kansas
 Nature of Suit:                                                    INDEPENDENCE, MO 64050
 CC Pers Injury-Other                                                                                                                 (Date File Stamp)

                                                              Summons in Civil Case
      The State of Missouri to: JOSH WILLIAMS
                                      Alias:
  WALMART STORE # 319
  2015 W FOXWOOD DR.
  RAYMORE, MO 64083

         COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                       which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                       above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                       file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                                    30-JUL-2020                                _________________________________________
                                                        Date                                                    Clerk
        JACKSON COUNTY                 Further Information:

                                                                Sheriff’s or Server’s Return
      Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
      I certify that I have served the above summons by: (check one)
          delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
          leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
            _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years who
            permanently resides with the Defendant/Respondent.
          (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
      ____________________________________________                                      _____________________________________________
                     Printed Name of Sheriff or Server                                                    Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________              _____________________________________________
                                                                              Date                                     Notary Public
      Sheriff’s Fees
      Summons                      $
      Non Est                      $
      Sheriff’s Deputy Salary
      Supplemental Surcharge       $    10.00
      Mileage                      $                    (______ miles @ $.______ per mile)
      Total                        $
      A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
      suits, see Supreme Court Rule 54.



OSCA (7/2018) SM30 (JAKSMCC) For Court Use Only: Document Id # 20-SMCC-6357 1 of 1Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                      Case 4:20-cv-00723-HFS Document 1-2 Filed 09/10/20                                  Page 18 of 28
                                                                                                   54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
                   SUMMONS/GARNISHMENT SERVICE PACKETS
                         ATTORNEY INFORMATION



Under the Missouri e-filing system now utilized by the 16th Judicial Circuit Court, once a case has been
accepted for filing, a clerk prepares the necessary documents for service. The summons/garnishment is
sent to the attorney by an e-mail containing a link so that the filer may print and deliver the
summons/garnishment, pleadings and any other necessary documents to the person designated to serve
the documents.

Pursuant to State statutes, Supreme Court Rules and Local Court Rules, attorneys are required to print,
attach and serve specific documents with certain types of Petitions and other filings.

Please refer to the Court’s website for instructions on how to assemble the service packets at:

16thcircuit.org → Electronic Filing Information → Required Documents for Service – eFiled cases →
Summons/Garnishment Service Packet Information.

Please review this information periodically, as revisions are frequently made. Thank you.



                                                     Circuit Court of Jackson County




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                                                                                                   6/2020
                                                                                                   Electronically Filed - Jackson - Independence - August 09, 2020 - 05:32 PM
               IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                                AT INDEPENDENCE

DONALD BRIDGEWATER,                                     )
                                                        )
                         Plaintiff,                     )
                                                        ) Case No.     2016-CV15686
vs.                                                     )
                                                        ) Div.         12
WALMART STORES EAST I, LP, et al.,                      )
                                                        )
                                 Defendants.            )

                        FIRST AMENDED PETITION FOR DAMAGES

         COMES NOW Plaintiff and states as follows for his Petition for Damages against

Defendant:

                                      COMMON ALLEGATIONS

      1. Plaintiff is an individual and was at all times relevant over the age of eighteen and a

resident of Jackson County, Missouri.

      2. Defendant Walmart Stores East I, LP (“Walmart”) is a foreign limited partnership

registered to do business in Missouri and conducting business throughout Jackson County,

Missouri.

      3. Defendant Josh Williams is an individual and was at all times relevant over the age of

eighteen and a Missouri resident.

      4. At all times relevant Defendant Walmart owned and operated a store at 11601 E US

Highway 40, Kansas City, MO 64133 (the “subject premises”).

      5. At all times relevant Defendant Williams worked as a manager at the subject Walmart.

Defendant Williams’ job responsibilities for Defendant Walmart included inventory management

as well as store safety and security, among other customary duties common to managers in

department and grocery stores.




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   6. The incident causing Plaintiff’s damages occurred on or about August 1, 2017 on the

premises of the subject Walmart.

   7. On this date, Plaintiff was present on the subject premises as a patron of Defendant

Walmart and, thus, an invitee at the time of the incident causing his injuries.

   8. On this date, the subject premises had liquid on a public walking area of the store.

   9. Plaintiff stepped in the liquid and fell, causing or contributing to cause injury to his right

thumb, right elbow, right ankle, and spine.

   10. There was no barrier or safety device to prevent customers from encountering the

location of the liquid and falling.

   11. There were no signs warning customers that the aisle contained the liquid on the public

walking area and was a fall hazard.

   12. As a direct and proximate result of the aforementioned fall, Plaintiff suffered from and

will permanently suffer:

           a. Physical, mental and emotional pain, disability, anguish and suffering;

           b. Loss of enjoyment of life;

           c. He has been required to undergo multiple reasonable and necessary medical

               treatments;

           d. He has been required to expend monies for medical treatment, care and

               monitoring;

           e. He will in the future be required to undergo reasonable and necessary medical

               treatment;

           f. He will in the future be required to expend monies for medical treatment, care and

               monitoring; and



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             g. Increased risk of future medical treatment and expense, complications, disability

                and other consequences.

    13. This Court has personal jurisdiction over the parties because the claims herein arise out of

the commission of a tort in the State of Missouri.

    14. Venue in the Circuit Court of Jackson County is proper in that the incident occurred and

Plaintiff was first injured in Jackson County, Missouri.

                                    COUNT I
                   PREMISES LIABILITY OF DEFENDANT WALMART

    15. Plaintiff incorporates by reference the allegations set forth above as if fully set out herein.

    16. Plaintiff went to the subject Walmart store as a paying customer of the store and was

considered an invitee, entitling him to the highest duty of care.

    17. If was foreseeable that Plaintiff would walk in the public walking areas of the store and

encounter the liquid.

    18. The magnitude of risk to Plaintiff was high since the public walking area in which

Plaintiff fell did not have a barrier or any other safety device to prevent access, which made the

liquid on the walking area dangerous.

    19. The benefits of inspection, detection, barricading, warning, and remediation of liquid on

the public walking areas of the store, and protecting customers from such hazards are very high

in that the prevention of injuries to customers, including Plaintiff, from such hazards is a benefit

to individuals located on the premises.

    20. The cost and inconvenience of barriers or safety devices is quite low compared to the risk

of injury.




                                                     3

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   21. At the time of Plaintiff’s fall, the liquid on the public walking area of the subject

premises rendered the walking area slick and insufficiently slip resistant causing a dangerous

condition, as a result the premises was not reasonably safe for the public.

   22. Defendant Walmart knew or by using ordinary care could have known of the dangerous

condition of the liquid on the public walking area of the premises in time to barricade, warn of,

or remedy, and protect customers including Plaintiff from such dangerous condition.

   23. Defendant Walmart failed to use ordinary care in the following respects:

           a. Defendant failed to inspect for the dangerous condition;

           b. Defendant failed to detect the dangerous condition;

           c. Defendant failed to warn patrons of the dangerous condition;

           d. Defendant failed to mark or barricade the dangerous condition;

           e. Defendant failed to remove the dangerous condition;

           f. Defendant failed to fix and/or remedy the dangerous condition; and

           g. In such other respects as shall be determined during discovery in this matter.

   24. Such failure by Defendant Walmart directly caused or directedly contributed to cause

Plaintiff’s injuries and damages as described in the Common Allegations of this Petition.

       WHEREFORE, Plaintiff seeks judgment in Plaintiff’s favor and against Defendant

Walmart for compensatory damages in an amount greater than $25,000.00 that will fully and

fairly address Plaintiff’s injuries and damages, and for interest and costs, and such other and

further relief as this Court and jury deem just and proper.

                                   COUNT II
                       NEGLIGENCE OF DEFENDANT WILLIAMS

   25. Plaintiff incorporates by reference the allegations set forth above as if fully set out herein.




                                                  4

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    26. Defendant Williams had a duty to safely maintain the subject Walmart store and its

products in a reasonably safe manner for store customers, including Plaintiff, and was negligent

by his failure to do so.

    27. Defendant Williams owed Plaintiff a duty of ordinary care, including but not limited to,

keeping the premises reasonably safe for Plaintiff and others.

    28. As a manager of the store, Defendant Williams had a duty to recognize and correct unsafe

conditions in the store that could potentially cause injury to customers.

    29. As a manager of the store, Defendant Williams knew or should have known that liquid on

the public walking area of the store could result in a customer falling and being injured.

    30. As a manager of the store, Defendant Williams had a duty to train store employees in safe

and proper procedures for inspection, detection, barricading, warning, and remediation of liquid

on the public walking areas of the premises, and protecting customers from such hazards

occurring on the premises.

    31. Defendant Williams breached his duty to customers including Plaintiff and failed to use

ordinary care in numerous respects, including, but not limited to, the following:

            a. Failing to properly maintain the public walking areas of the premises, including

                the area where Plaintiff fell;

            b. Failing to properly inspect for and detect liquid on the public walking area of the

                premises, including the liquid that caused Plaintiff’s fall;

            c. Failing to provide any kind of barrier, barricade, or other simple safety device that

                would protect customers like Plaintiff from encountering the liquid on the public

                walking area of the premises;

            d. Failing to provide a warning so that customers such as Plaintiff could avoid the

                liquid on the public walking area of the premises;

                                                   5

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                                                                                            Electronically Filed - Jackson - Independence - August 09, 2020 - 05:32 PM
  e. Failing to recognize and remedy the unsafe condition of having the liquid on a

     public walking area where customers are expected to walk could become injured

     by slipping and falling due to the hazard;

  f. Failing to take affirmative steps to ensure the liquid on the public walking area of

     the premises was promptly detected, barricaded, remediated and adequate

     warning was given to customers including Plaintiff;

  g. Failing to ensure the liquid on the public walking area of the premises was

     remediated before Plaintiff encountered it;

  h. Exercising his management responsibilities in a careless and negligent manner

     and failing to request corporate office to provide sufficient resources for proper

     inspection, detection, barricading, warning, and remediation of liquid on the

     public walking areas of the premises, and for protection of customers including

     Plaintiff;

  i. Failing to train store employees about the unsafe condition of having liquid on the

     public walking areas of the premises without proper inspection, detection,

     barricading, warning, and remediation of such hazard, and protection of

     customers, where customers are expected to walk and could become injured by

     slipping and falling due to such hazard;

  j. Failing to barricade the liquid on the public walking area of the premises and

     provide an alternative walking area for customers to avoid encountering the

     hazard causing injury to customers;

  k. Failing to comply with Walmart’ safety policies and procedures for proper

     inspection, detection, barricading, warning, and remediation of liquid on the

     public walking areas of the premises, and protection of customers where

                                       6

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                 customers are expected to walk and could become injured by slipping and falling

                 due to such hazard;

            l. Failing to properly hire, train and supervise employees with regard to proper

                 inspection, detection, barricading, warning, and remediation of liquid on the

                 public walking areas of the premises, and protection of customers, where

                 customers are expected to walk and could become injured by slipping and falling

                 due to such hazard;

            m. Failing to actively examine the premises to determine possible safety hazards and

                 practices that can cause harm to customers;

            n. Failing to warn customers such as Plaintiff of the liquid on the public walking

                 area of the premises and that injury could result; and

            o.   Other negligent or careless actions to be supplemented after discovery.

   32. Such failure by Defendants directly caused or directedly contributed to cause Plaintiff’s

injuries and damages as described in the Common Allegations of this Petition.

         WHEREFORE, Plaintiff seeks judgment in Plaintiff’s favor and against Defendant

Williams for compensatory damages in an amount greater than $25,000.00 that will fully and

fairly address Plaintiff’s injuries and damages, and for interest and costs, and such other and

further relief as this Court and jury deem just and proper.

                                     COUNT III
                         NEGLIGENCE OF DEFENDANT WALMART

   33. Plaintiff incorporates by reference the allegations set forth above as if fully set out herein.

   34. Defendant Walmart had a duty to safely maintain the subject Walmart store in a

reasonably safe manner for store customer, including Plaintiff, and was negligent by its failure to

do so.


                                                   7

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   35. Defendant Walmart owed Plaintiff a duty of ordinary care and breached that duty in

numerous respects, including, but not limited to:

           a. Failing to properly maintain the public walking areas of the subject Walmart;

           b. Failing to prevent the walking surface of the subject premises from becoming

               slick and insufficiently slip resistant;

           c. Failing to develop adequate policies and procedures to prevent the walking

               surface of the subject premises from becoming slick and insufficiently slip

               resistant;

           d. Failing to develop adequate policies and procedures to promptly inspect for,

               detect, barricade, warn of, and remediate liquid on the public walking areas of the

               subject premises to protect customers and Plaintiff from such hazards;

           e. Failing to adhere to industry standards for the proper inspecting for, detecting,

               barricading, warning of, and remediating liquid on the public walking areas of the

               subject premises to protect customers and Plaintiff from such hazards;

           f. Failing to comply with recognized safety standards of care for customer safety in

               the proper inspecting for, detecting, barricading, warning of, and remediating

               liquid on the public walking areas of the subject premises to protect customers

               and Plaintiff from such hazards;

           g. Failing to provide reasonably safe premises;

           h. Failing to properly hire, train, and supervise Walmart employees, including

               Defendant Williams, to ensure the public walking surface of the subject premises

               was not slick and insufficiently slip resistant;

           i. Failing to properly hire, train, and supervise Walmart employees, including

               Defendant Williams, to promptly inspect for, detect, barricade, warn of, and

                                                   8

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               remediate liquid on the public walking areas of the premises to protect customers

               and Plaintiff from such hazards;

           j. Failing to fulfill their duties to the public and to Plaintiff in other particulars as

               shall be identified through discovery in this matter.

   36. Defendant Walmart breached its duty to exercise reasonable care to secure the safety of

Plaintiff through its acts and omissions set forth above.

   37. Defendant Walmart’s breach of its duties directly caused or directedly contributed to

cause Plaintiff’s injuries as described in the Common Allegations of this Petition.

       WHEREFORE, Plaintiff seeks judgment in Plaintiff’s favor and against Defendant

Walmart for compensatory damages in an amount greater than $25,000.00 that will fully and

fairly address Plaintiff’s injuries and damages, and for interest and costs, and such other and

further relief as this Court and jury deem just and proper.

                                   JURY TRIAL DEMANDED

       Plaintiff hereby requests a jury in this case for all issues triable by a jury.



                                                       Respectfully submitted,

                                                       DEVAULT LAW, L.C.

                                                       By: /s/ Rick W. DeVault
                                                       Rick W. DeVault, MO #65874
                                                       3720 NE Troon Dr., Suite 100
                                                       Lee’s Summit, MO 64064
                                                       (816) 350-1600
                                                       (816) 350-1602 (fax)
                                                       Rick@DeVaultLaw.com

                                                       ATTORNEY FOR PLAINTIFF




                                                   9

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